     Case 2:18-cv-04245-ILRL-JVM Document 70-2 Filed 04/29/19 Page 1 of 14




                              UNITED STATES DISTRICT COURT

                             EASTERN DISTRICT OF LOUISIANA

LEXON INSURANCE COMPANY, INC. *                                  CASE NO. 18-4245

        vs.                                      *               SECT. B(1)

FEDERAL DEPOSIT INSURANCE                        *               JUDGE LEMELLE
CORPORATION, ET AL.
                                                 *               MAG. VAN MEERVELD

                 MEMORANDUM IN SUPPORT OF MOTION TO DISMISS
                  FOR LACK OF SUBJECT-MATTER JURISDICTION

I.      Introduction and summary of the argument

        MAY IT PLEASE THE COURT: Plaintiff, Lexon Ins. Co., Inc., filed an amended

complaint alleging a single cause of action under the Federal Tort Claims Act (FTCA) against

defendant, the United States of America, based on pre-receivership oversight activity by the

Federal Deposit Insurance Corporation in its corporate capacity (FDIC-C) over First NBC Bank. 1

The Court lacks subject-matter jurisdiction over Lexon’s FTCA claim for two reasons. First, there

is no tort duty that applies to an analogous private person acting as the FDIC-C in like

circumstances under Louisiana law. 28 U.S.C. §§ 1346(b)(1), 2674. Second, the FTCA’s

discretionary-function exception insulates the FDIC-C’s actions from judicial review. 28 U.S.C.

§ 2680(a). For these reasons, either of which is independently sufficient, the Court should grant




        1
                 Lexon also sued the FDIC in its capacity as receiver (FDIC-R) for First NBC. See Rec.
Doc. 1. FDIC-C, as an agency and corporate instrumentality of the United States, functions as a bank
regulator and insurer of bank deposits. 12 U.S.C. §§ 1818, 1821(a). FDIC-R acts as receiver for failed
institutions, marshaling assets and making distributions to creditors. 12 U.S.C. § 1821(d)(2)(A). These are
separate and distinct legal capacities. See Hartford Cas. Ins. Co. v. F.D.I.C., 21 F.3d 696, 706 (5th Cir.
1994). For consistency and clarity, the United States will use abbreviations throughout to distinguish the
FDIC’s respective corporate (FDIC-C) and receiver (FDIC-R) capacities.
                                                     1
      Case 2:18-cv-04245-ILRL-JVM Document 70-2 Filed 04/29/19 Page 2 of 14



this motion and dismiss Lexon’s FTCA claim under Fed. R. Civ. P. 12(b)(1) for lack of subject-

matter jurisdiction.

II.     Facts and procedural background

        A.       Facts

        The underlying facts in this case are familiar to the Court from the FDIC-R’s prior motion

practice. Rec. Doc. 34. Lexon, as a surety for non-party Linder Oil Company, executed eight

performance bonds for regulated oil-and-gas exploration. Id. at p. 1. To ensure its indemnification

in the event of a loss, Lexon required Linder to post collateral. Id. at pp. 1–2. In March 2016, First

NBC issued two standby letters of credit to Linder, listing Lexon as beneficiary. Id. at p. 2.

        In November 2016, First NBC, the FDIC-C, and the Louisiana Office of Financial

Institutions entered into a consent order under Section 8(b) of the Federal Deposit Insurance Act

(FDIA), 12 U.S.C. § 1818(b), 2 and Louisiana Bank Law. Rec. Doc. 43-3. During the pendency of

this consent order, First NBC’s letters of credit to Linder renewed, covering March 2017 through

March 2018. Rec. Doc. 34 at p. 2. In April 2017, however, the State of Louisiana closed First NBC

and appointed the FDIC-R as receiver. Id. Thereafter, the FDIC-R repudiated the letters of credit

to Linder. Id.

        B.       Procedural history

        Lexon originally sued only the FDIC-R, alleging four counts under the FDIA. Rec. Doc. 1.

The FDIC-R moved to dismiss Lexon’s complaint under Fed. R. Civ. P. 12(b)(6) for failure to

state a claim. Rec. Doc. 21. The Court granted the FDIC-R’s motion, but afforded Lexon time “to


        2
                 The FDIC-C issues these orders to halt violations of banking laws or regulations as well as
to require affirmative action from the insured bank to correct any condition resulting from such violations.
See       FDIC       Manual       of      Examination        Policies,     §      15-1,      at      15.1-6,
https://www.fdic.gov/regulations/safety/manual/section15-1.pdf (last visited April 17, 2019). If the bank
agrees to the FDIC-C’s proposed enforcement action, the FDIC-C will issue a consent order instead of a
cease-and-desist order. Id.
                                                     2
       Case 2:18-cv-04245-ILRL-JVM Document 70-2 Filed 04/29/19 Page 3 of 14



conduct discovery to make the record complete” and “bring an amended complaint, showing a

viable claim.” Rec. Doc. 34 at p. 6.

         Lexon filed an amended complaint, re-urging its FDIA claims against the FDIC-R, and

adding a single FTCA count against the United States based on the FDIC-C’s pre-receivership

regulatory and oversight activity. Rec. Doc. 43. The FDIC-R re-urged its motion to dismiss for

failure to state a claim under Fed. R. Civ. P. 12(b)(6), which is currently pending under submission

with the Court. Rec. Doc. 55.

III.    Argument

         A.     Standard of review

         A motion to dismiss under Fed. R. Civ. P. 12(b)(1) challenges the subject-matter

jurisdiction of a federal district court. A claim is properly dismissed for lack of subject-matter

jurisdiction under Rule 12(b)(1) when the court lacks the statutory or constitutional power to

adjudicate the claim. See Home Builders Assoc., Inc. v. Madison, 143 F.3d 1006, 1010 (5th Cir.

1998). Because federal courts are courts of limited jurisdiction, absent jurisdiction conferred by

statute, they lack the power to adjudicate claims. See, e.g., Stockman v. Fed. Election Comm’n,

138 F.3d 144, 151 (5th Cir. 1998). Thus, a federal court must dismiss an action whenever it appears

that subject-matter jurisdiction is lacking. Id. The burden of proof on a motion to dismiss under

Rule 12(b)(1) is on the party asserting jurisdiction. Id.

         In considering a Rule 12(b)(1) motion to dismiss for lack of subject-matter jurisdiction “a

court may evaluate: (1) the complaint alone; (2) the complaint supplemented by undisputed facts

evidenced in the record; or (3) the complaint supplemented by undisputed facts plus the court’s

resolution of disputed facts.” Den Norske Stats v. HeereMac Vof, 241 F.3d 420, 424 (5th Cir.

2001); Barrera-Montenegro v. United States, 74 F.3d 657, 659 (5th Cir. 1996).



                                                  3
     Case 2:18-cv-04245-ILRL-JVM Document 70-2 Filed 04/29/19 Page 4 of 14



        B.     There is no tort duty that applies to an analogous private person acting as the
               FDIC-C in like circumstances under Louisiana law.

        “The basic rule of federal sovereign immunity is that the United States cannot be sued at

all without the consent of Congress.” Block v. North Dakota, 461 U.S. 273, 287 (1983). “Sovereign

immunity is jurisdictional in nature.” F.D.I.C. v. Meyer, 510 U.S. 471, 475 (1994). “The terms of

the United States’ consent to be sued in any court define that court’s jurisdiction to entertain the

suit.” Id.

        Lexon filed suit against the United States under the FTCA, which constitutes a “limited

waiver of sovereign immunity, making the Federal Government liable to the same extent as a

private party for certain torts of federal employees acting within the scope of their employment.”

United States v. Orleans, 425 U.S. 807, 813 (1976). Under the FTCA, the United States is liable

for tort claims “under circumstances where the United States, if a private person, would be liable

to the claimant” under state law where the act or omission occurred. 28 U.S.C. § 1346(b)(1); see

also 28 U.S.C. § 2674 (the United States’ liability for tort claims is “in the same manner and to the

same extent as a private individual under like circumstances” according to the law of the state

where the alleged tort occurred); Owen v. United States, 935 F.2d 734, 737 (5th Cir. 1991);

Alexander v. United States, 605 F.2d 828, 832 (5th Cir. 1979) (“[L]iability under the FTCA is

governed by state law . . . .”); In re Supreme Beef Processors, Inc., 468 F.3d 248, 252 (5th Cir.

2006) (The FTCA “holds the government liable as if it were a defendant in state court . . . .”).

        The Fifth Circuit has held that “[w]hether a private person in ‘like circumstances’ would

be subject to liability is a question of sovereign immunity . . . .” In re FEMA Trailer Formaldehyde

Prods. Liab. Litig., 668 F.3d 281, 288 (5th Cir. 2012) (citing United States v. Olson, 546 U.S. 43,

44 (2005)). That is to say, “[i]f the alleged conduct would not impose liability in the private sector

under local law, then the court lacks jurisdiction under the FTCA.” Appleton v. United States, 180

                                                  4
     Case 2:18-cv-04245-ILRL-JVM Document 70-2 Filed 04/29/19 Page 5 of 14



F. Supp. 2d 177, 184 (D.D.C. 2002); see also Barnson v. United States, 531 F. Supp. 614, 619–20

(D. Utah 1982) (“The failure to establish an analogous private liability is well established to be a

jurisdictional defect under the FTCA.”).

       Lexon claims to assert a cause of action for negligence under LA. CIV. CODE art. 2315, 3

which provides: “Every act whatever of man that causes damage to another obliges him by whose

fault it happened to repair it.” This article “codifies claims for general negligence which the

jurisprudence considers under a duty-risk analysis.” Jolliff v. United States, 2012 WL 2449952, at

*3 (E.D. La. June 27, 2012) (citing Rando v. Anco Insulations, Inc., 08-1163 (La. 5/22/09); 16 So.

3d 1065, 1085–86). The duty-risk analysis requires Lexon to demonstrate five separate elements:

(1) the FDIC-C had a duty to conform its conduct to a specific standard of care; (2) the FDIC-C

failed to conform its conduct to the appropriate standard; (3) the FDIC-C’s substandard conduct

was a cause-in-fact of Lexon’s injuries; (4) the FDIC-C’s substandard conduct was a legal cause

of Lexon’s injuries; and (5) Lexon’s actual damages. Id. “If the plaintiff fails to satisfy one of the

elements of duty-risk, the defendant is not liable.” Bursztajn v. United States, 367 F.3d 485, 489

(5th Cir. 2004) (quoting Pitre v. La. Tech Univ., 95-1466 (La. 5/10/96); 673 So. 2d 585, 590).

       “The threshold issue in any negligence action is whether the defendant owed the plaintiff

a duty, and whether a duty is owed is a question of law.” Hanks v. Entergy Corp., 2006-477 (La.

12/18/06); 944 So. 2d 564, 579. “Whether a legal duty exists, and the extent of that duty, depends

on the facts and circumstances of the case, and the relationship of the parties.” Joseph v. Dickerson,

99-1046 (La. 1/19/00); 754 So. 2d 912, 916.

       On that point, numerous federal courts have held that the FDIC-C and other similar federal

bank regulators neither assume nor owe a duty of care to the banks they supervise, much less to


       3
               Rec. Doc. 43 at p. 12, ¶ 63.


                                                  5
     Case 2:18-cv-04245-ILRL-JVM Document 70-2 Filed 04/29/19 Page 6 of 14



third-parties like Lexon who may derive some benefit from the regulated banks’ lending activities.

See, e.g., Fed. Savs. and Loan Ins. Corp. v. Smith, 721 F. Supp. 1039, 1048 (E.D. Ark. 1989)

(“[T]he FSLIC does not usually owe a duty of care to those in the position of [a borrower]. Absent

a duty, there can be no breach of duty and there can be no liability [under the FTCA].”); First State

Bank of Hudson Cty. v. United States, 599 F.2d 558, 563 (3d Cir. 1979); Fed. Savs. & Loan Ins.

Corp. v. Shelton, 789 F. Supp. 1367, 1369 (M.D. La. 1992) (“It is clear that the FDIC[-C] owes no

duty to manage a bank.”); FSLIC v. Derbes, 1986 WL 432, at *2, n.1 (E.D. La. Nov. 13, 1986)

(“[T]he FHLBB does not, by merely undertaking regulation and supervision of financial

institutions, assume a duty to one who is injured by the unlawful practices of a regulated

institution.”); F.D.I.C. v. Butcher, 660 F. Supp. 1274, 1282 (E.D. Tenn. 1987) (“[T]he defendants

attempt to set forth the negligence claim by several methods, all of which impose a duty on the

FDIC where no duty exists.”). 4 This body of law is so well settled and consistent that it is

sometimes referred to as the FDIC “no-duty rule.” See, e.g., F.D.I.C. v. Raffa, 935 F. Supp. 119,

123–24 (D. Conn. 1995) (noting near universal acceptance of bright-line, no-duty rule). This no-

duty rule exists because federal banking regulations were “created to allow the agency to protect

its insurance funds, not to establish a deep pocket to reimburse those who would not have lost

money had the agency taken greater steps to protect them.” Smith, 721 F. Supp. at 1048 (citation

omitted).




        4
                  See also In re Cont’l Ill. Secs. Litig., 1985 WL 3302, at *3 (N.D. Ill. Oct. 24, 1985)
(“[C]ourts have uniformly held that the statutes authorizing the examination of national financial
institutions do not impose a duty on the federal government in favor of those institutions.”); F.D.I.C. v.
Raffa, 935 F. Supp. 119, 124 (D. Conn. 1995) (“[T]he FDIC’s duty is owed, not to bank directors or officers,
but to the insurance fund it is charged with protecting and to the banking public.”); In re Franklin Nat’l
Bank Sec. Litig., 478 F. Supp. 210, 215–16 (E.D.N.Y. 1979) (“[T]he failure of the FDIC to discover fraud
or weakness, or even to disclose such adverse information if it is discovered, does not establish a claim for
relief against the United States.”).
                                                     6
     Case 2:18-cv-04245-ILRL-JVM Document 70-2 Filed 04/29/19 Page 7 of 14



        Lexon won’t find a tort duty arising in like circumstances under Louisiana law either. It is

axiomatic that no private party provides the exact sort of banking oversight the FDIC-C performs, 5

so the Supreme Court has instructed lower courts to consider Good Samaritan liability that could

arise if a private party did undertake an analogous function under state law. See Olson, 546 U.S.

at 45–47; In re FEMA Trailer, 668 F.3d at 288 (“Because the federal government could never be

exactly like a private actor, a court’s job in applying the standard is to find the most reasonable

analogy.”); cf. Smith, 721 F. Supp. at 1048–49 (alleging Good Samaritan liability under Arkansas

law against the FSLIC). The Louisiana Supreme Court has adopted the standard for Good

Samaritan liability found in the Restatement (Second) of Torts, § 324A. See Bujol v. Entergy Servs.,

2003-0492 (La. 5/25/04); 922 So. 2d 1113, 1128–29. Section 324A states:

        One who undertakes, gratuitously or for consideration, to render services to another
        which he should recognize as necessary for the protection of a third person or his
        things, is subject to liability to the third person for physical harm resulting from his
        failure to exercise reasonable care to protect his undertaking, if

             (a) his failure to exercise reasonable care increases the risk of such harm, or

             (b) he has undertaken to perform a duty owed by the other to the third person,
                or

             (c) the harm is suffered because of reliance of the other or the third person upon
                the undertaking.

        Any attempt to allege Good Samaritan liability against the FDIC-C under § 324A fails for

several reasons. First, Lexon’s amended complaint does not allege “physical harm resulting from




        5
                  The closest analogy under Louisiana law is to the oversight and regulatory functions of the
Louisiana Office of Financial Institutions. See LA. REV. STAT. §§ 6:101, et seq. The Supreme Court,
however, has expressly rejected imposition of tort duties in a FTCA case based on state-law liabilities of
public entities. See Olson, 546 U.S. at 46. Similarly, “a federal regulation cannot establish a duty owed to
plaintiff under state law.” Tindall v. United States, 901 F.2d 53, 56 n.8 (5th Cir. 1990); Johnson v. Sawyer,
47 F.3d 716, 727–28 (5th Cir. 1995).
                                                     7
     Case 2:18-cv-04245-ILRL-JVM Document 70-2 Filed 04/29/19 Page 8 of 14



[the FDIC-C’s] failure to exercise reasonable care;” rather, it alleges purely economic harm. 6 See

Rec. Doc. 43 at p. 12, ¶ 67 & p. 16 (alleging $9,985,000 in damages). Second, Lexon does not

allege that the FDIC-C “increase[d]” Lexon’s risk of economic harm by executing the consent

order. Rather, Lexon complains that the FDIC-C didn’t decrease Lexon’s risk by forcing First

NBC’s non-renewal of the standby letters of credit. Id. at p. 6, ¶ 29. But “[t]he test [under §

324A(a)] is not whether the risk was increased over what it would have been if the defendant had

not been negligent.” Myers v. United States, 17 F.3d 890, 903 (6th Cir. 1994). “Rather, a duty is

imposed only if the risk is increased over what it would have been had the defendant not engaged

in the undertaking at all.” Id. Third, despite Lexon’s allegations to the contrary, the terms of the

consent order—specifically ¶¶ 4(a) and 4(b)—do not impose a duty on the FDIC-C to approve or

deny additional credit. Compare Rec. Doc. 43-3 at p. 9 with Rec. Doc. 43 at p. 6, ¶ 25. Rather, the

plain language of those terms squarely imposes a duty upon “the Bank” to “not extend . . . any

additional credit.” Rec. Doc. 43-3 at p. 9. 7 Fourth, Lexon does not allege that it suffered economic



        6
                 Most jurisdictions that have adopted § 324A preclude recovery for purely economic harms.
See, e.g., In re Washington Mut., Inc., 418 B.R. 107, 113 (Bankr. D. Del. 2009). While Louisiana courts
have not yet addressed the distinction between physical and economic harms in Good Samaritan cases,
every Louisiana case addressing liability under § 324A has applied it to allegations of physical, not
economic, harm. See, e.g., Bujol, supra (death in flash fire); Mundy v. Dep’t of Health and Human Res.,
620 So. 2d 811 (La. 1993) (stabbing); Harris v. Pizza Hut of Louisiana, Inc., 455 So. 2d 1364 (La. 1984)
(gunshot); Sutter v. Audubon Park Comm’n, 533 So. 2d 1226 (La. App. 4 Cir. 7/7/88) (gunshot); Rhodes v.
Winn-Dixie Louisiana, Inc., 638 So. 2d 1168 (La. App. 1 Cir. 6/24/94) (physical injury); Schulker v.
Roberson, 91-1228 (La. App. 3 Cir. 6/5/96), 676 So. 2d 684 (car accident); Dartlone v. Louisiana Power
& Light Co., 33,597 (La. App. 2 Cir. 6/21/00), 763 So. 2d 779 (electrocution); Graves v. Riverwood Int’l
Corp., 38,842 (La. App. 2 Cir. 8/18/04), 881 So. 2d 140 (asbestos exposure); Verdin v. Rogers, 05-664 (La.
App. 5 Cir. 3/14/06); 926 So. 2d 603 (electrical shock); Brookshire Bros. Holding v. Total Containment,
Inc., 2006 WL 3095651 (W.D. La. Oct. 27, 2006) (leaking pipes); Hernandez v. Dedicated TCS, L.L.C.,
2017 WL 2868803 (E.D. La. July 5, 2017) (exposure to hazardous vapors); Poirrier v. Richardson, 2018
WL 1471458 (E.D. La. Jan. 4, 2018) (drug toxicity); Watson v. Arkoma Dev., LLC, 2018 WL 6274070
(W.D. La. Nov. 15, 2018) (contamination of property).

        7
                 Accord FDIC Manual of Examination Policies, supra n. 2 at 15.1-6 (“Cease and desist
orders generally contain provisions that require a bank . . . to take, or prohibit a bank . . . from taking,
specific actions relating to inappropriate practices, violations, or conditions.”).
                                                     8
     Case 2:18-cv-04245-ILRL-JVM Document 70-2 Filed 04/29/19 Page 9 of 14



harm because of reliance on the terms of the FDIC-C’s consent order. Rec. Doc. 43 at p. 6. In fact,

Lexon doesn’t even allege its pre-receivership knowledge of the consent order. Id.

        In sum, exercising FTCA subject-matter jurisdiction over Lexon’s claim would require not

only rejection of decades of settled law on the no-duty rule for federal banking regulators, but

would also require a novel and unprecedented extension of Good Samaritan tort liability under

§ 324A and Louisiana law. “The effect of the [FTCA],” however, is “not to visit the Government

with novel and unprecedented liabilities,” but to waive immunity from suit for “recognized causes

of action.” LESTER S. JAYSON AND ROBERT C. LONGSTRETH, 1 HANDLING FEDERAL TORT

CLAIMS § 3.07 (LexisNexis 2008). Because Lexon’s claim constitutes an unrecognizable

deviation from settled tort-law principles, no analogous private duty exists and subject-matter

jurisdiction under the FTCA, therefore, is lacking.

        C.      Even if a tort duty exists, the discretionary-function exception of the FTCA
                bars Lexon’s claim.

        In addition to the analogous-private-duty requirement, the FTCA contains other

important limitations on the waiver of sovereign immunity, including a discretionary-function

exception, which provides:

        The provisions of [the FTCA] shall not apply to—any claim . . . based upon the
        exercise or performance or the failure to exercise or perform a discretionary
        function or duty on the part of a federal agency or an employee of the Government,
        whether or not the discretion involved be abused.

28 U.S.C. § 2680(a). “The discretionary-function exception is thus a form of retained sovereign

immunity.” St. Tammany Parish v. Fed. Emergency Mgmt. Agency, 556 F.3d 307, 317 (5th Cir.

2009) (internal citation omitted). “It is intended to ‘assure protection for the Government against

tort liability for errors in administration or in the exercise of discretionary functions.’” Id. (quoting

Dalehite v. United States, 346 U.S. 15, 26–27 (1953)).


                                                   9
    Case 2:18-cv-04245-ILRL-JVM Document 70-2 Filed 04/29/19 Page 10 of 14



       Under the Supreme Court’s traditional two-part test for FTCA discretionary-function

immunity, “a court must first consider whether the action is a matter of choice for the acting

employee.” Berkovitz v. United States, 486 U.S. 531, 536 (1988). “[T]he discretionary function

exception will not apply when a federal statute, regulation, or policy specifically prescribes a

course of action for an employee to follow” since “[i]n this event, the employee has no rightful

option but to adhere to the directive.” Id. If, however, “a statute, regulation, or policy leaves it to

a federal agency to determine when and how to take action, the agency is not bound to act in a

particular manner and the exercise of its authority is discretionary.” St. Tammany Parish, 556 F.3d

at 323 (citing United States v. Gaubert, 499 U.S. 315, 329 (1991)).

       “[A]ssuming the challenged conduct involves an element of judgment,” the Court next

“must determine whether that judgment is of the kind that the discretionary function exception was

designed to shield.” Berkovitz at 536. “The basis for the discretionary function exception was

Congress’ desire to prevent judicial second-guessing of legislative and administrative decisions

grounded in social, economic, and political policy through the medium of an action in tort.”

Berkovitz at 536–37 (quoting United States v. Varig Airlines, 467 U.S. 797, 814 (1984)) (internal

marks omitted); see also St. Tammany Parish, 556 F.3d at 323–24. In this regard, “if a regulation

allows the employee discretion, the very existence of the regulation creates a strong presumption

that a discretionary act authorized by the regulation involves consideration of the same policies

which led to the promulgation of the regulations.” Id. (citing Gaubert, 499 U.S. at 324). Further,

the focus of the inquiry in this second prong is not on the federal actor’s actual consideration of

policy-based factors, but rather “the nature of the actions taken and on whether they are susceptible

to a policy analysis.” Gaubert, 499 U.S. at 325; see also Salazar v. United States, 633 F. Supp. 2d

232, 237 (E.D. La. 2009) (Lemelle, J.) (applying discretionary-function exception).



                                                  10
    Case 2:18-cv-04245-ILRL-JVM Document 70-2 Filed 04/29/19 Page 11 of 14



        In Berkovitz step one, Lexon cannot identify a violation of any federal statute, regulation,

or policy that mandates a specific course of conduct for the FDIC-C to follow in its regulation and

oversight of banks. Rec. Doc. 43. For instance, while Lexon argues that the consent order contains

a “nondiscretionary mandate to cease providing credit to financially troubled borrowers,” 8 the

plain language of the consent order imposes this “nondiscretionary mandate” on First NBC, not

the FDIC-C. Rec. Doc. 43-3 at p. 9, ¶¶ 4(a)–(b). 9 More to the point, the Fifth Circuit has

specifically held that a “purported negligent failure to supervise” claim based on “failure to . . .

comply with . . . cease and desist orders, and supervisory orders” is “frivolous” and “protected by

the discretionary function exception.” ALX El Dorado, Inc. v. Sw. Sav. and Loan Ass’n, 36 F.3d

409, 411, n.15 (5th Cir. 1994) (cleaned up); see also id. at 411 (“[R]elevant statutes provided the

banking agencies with broad authority to supervise financial institutions; such statutes were not

couched in mandatory terms.”); F.D.I.C. v. Irwin, 916 F.2d 1051, 1054 (5th Cir. 1990) (noting that

the “broad grant of authority” to the Office of Comptroller of Currency and “scant legislative

direction thereafter disables [plaintiff] from citing any statutory or regulatory violation that would

lift this case cleanly outside of the discretionary function exception.”); Ard v. F.D.I.C., 770 F.




        8
                Rec. Doc. 43 at p. 6, ¶ 28.
        9
                 See also n. 7, supra. Unsurprisingly, the FDIC Manual of Examination Policies is replete
with discretionary language in its discussion of Section 8(b) cease-and-desist and consent orders. Id. at
15.1-6 (“Formal actions may be pursued before a violation or unsafe or unsound practice occurs.”); (“Under
certain circumstances, the enforcement action may require the institution or IAP to make restitution.”);
(“The failure of a bank to comply with any cease and desist order or consent order that has become final
can be the basis for subsequent Section 8(a) termination of insurance action.”); (“Such failure also can be
the basis for the FDIC petitioning the U.S. District Court to enforce the order. Civil money penalties may
also be imposed against the bank.”); (“When an institution or IAP does not agree to stipulate to a proposed
enforcement action, the FDIC may pursue a cease and desist order.”); (“If the party or parties served with
the Notice of Charges does not appear at the hearing, they may be deemed to have consented to the issuance
of the cease and desist order.”); (“The FDIC’s Board may issue a cease and desist order after the hearing.”)
(emphases added).
                                                    11
    Case 2:18-cv-04245-ILRL-JVM Document 70-2 Filed 04/29/19 Page 12 of 14



Supp. 2d 1029, 1036 (C.D. Cal. 2011) (“[P]laintiffs have not established that the . . . FDIC violated

a mandatory directive . . . .”).

         Elsewhere, Lexon argues that “[t]he FDIC[-C] breached its duty by failing to mandate First

NBC’s observance and compliance with the Consent Order, including Paragraphs 4(a) and 4(b).”

Rec. Doc. 43 at p. 6, ¶ 26. Again, even assuming such a duty exists, this allegation of negligence

is insufficient to satisfy Berkovitz step one since “[t]he discretionary function [exception] applies

even when the discretionary acts themselves constitute negligence.” Kiehn v. United States, 984

F.2d 1100, 1106 n.10 (10th Cir. 1993); Lively v. United States, 870 F.2d 296, 298 (5th Cir. 1989);

28 U.S.C. § 2680(a) (discretionary-function exception applies “whether or not the discretion be

abused.”). 10 Indeed, application of the discretionary-function exception is a threshold issue that

should precede any negligence analysis. Johnson v. United States, 949 F.2d 332, 335 (10th Cir.

1991).

         In Berkovitz step two, numerous cases have held that various discretionary actions of

federal banking regulators like the FDIC-C are susceptible to a policy analysis based on economics

and other public-policy factors. See ALX El Dorado, Inc., 36 F.3d at 412 (“[P]laintiffs have alleged

nothing that would suggest that the statutory discretion exercised by the banking agencies . . . was

not based on considerations of public policy.”); In re Cont’l Ill. Secs. Litig., 1985 WL 3302, at *6

(N.D. Ill. Oct. 24, 1985) (“We believe all of the [Office of Comptroller of Currency’s] actions in

examining Continental Bank fall within the discretionary function exception to the FTCA.”); Ard,



         10
                   So while the United States disputes Lexon’s characterization of this alleged negligent
breach by the FDIC-C, “factual issues concerning negligence are irrelevant to the threshold issue whether
the . . . actions are shielded from liability by the discretionary function exception.” Kiehn, 984 F.2d at 1108
(citing Johnson v. United States, 949 F.2d 332, 340 (10th Cir. 1991)). Courts, therefore, must exercise
caution not to “confuse negligence with immunity.” Id. at 340, 338 (“[T]he dispositive threshold issue is
not whether the [federal defendant] was negligent, but rather what was the nature of the [federal
defendant’s] decisions.”).
                                                      12
    Case 2:18-cv-04245-ILRL-JVM Document 70-2 Filed 04/29/19 Page 13 of 14



770 F. Supp. 2d at 1037 (“[A] long line of cases . . . have held that the discretionary function

exception insulates the United States from liability for claims arising out of the regulation of

banking institutions.”).

       The Supreme Court’s decision in Gaubert, supra, which addressed a FTCA claim arising

out of banking regulatory activity, mandates this conclusion. The plaintiff in Gaubert alleged that

the Federal Home Loan Bank Board 11 and Federal Home Loan Bank–Dallas “had been negligent

in carrying out their supervisory activities.” 499 U.S. at 318. These federal banking regulators had

“provided regulatory and financial advice” to a savings and loan on a merger, recommended

terminations and hiring, advised on bankruptcy and litigation, mediated salary disputes, and urged

conversion to a federal charter. Id. at 319–20. In step one of the discretionary-function analysis,

the Supreme Court found that the federal banking regulators “possessed broad statutory authority

to supervise financial institutions” and “were not bound to act in a particular way; the exercise of

their authority involved a great element of judgment or choice.” Id. at 329 (internal citation

omitted). In step two, the Supreme Court concluded that the banking regulatory activities were

taken “to protect the FSLIC’s insurance fund; thus it cannot be disputed that this action was based

on public policy considerations.” Id. at 332.

       These same conclusions apply with equal force to Lexon’s FTCA claim based on the FDIC-

C’s oversight activities. The FDIC-C’s decision to seek a consent order with First NBC, its

selection of consent-order terms, and its monitoring of First NBC’s compliance therewith all

involved elements of choice susceptible to a policy-based analysis. The discretionary-function

exception, therefore, deprives the Court of subject-matter jurisdiction over Lexon’s FTCA claim.




       11
               This since-abolished agency performed duties eventually assigned in part to the FDIC-C.
Gaubert, 499 U.S. at 317 n.1.

                                                 13
      Case 2:18-cv-04245-ILRL-JVM Document 70-2 Filed 04/29/19 Page 14 of 14



IV.     Conclusion

        For these reasons, the Court should grant the United States’ motion and dismiss Lexon’s

FTCA claim for lack of subject-matter jurisdiction.



                                                      Respectfully submitted,
                                                      PETER G. STRASSER
                                                      UNITED STATES ATTORNEY

                                                      s/Peter M. Mansfield
                                                      PETER M. MANSFIELD (# 28671)
                                                      Assistant United States Attorney
                                                      Chief, Civil Division
                                                      650 Poydras Street, Suite 1600
                                                      New Orleans, Louisiana 70130
                                                      Telephone: (504) 680-3047
                                                      Facsimile: (504) 680-3184
                                                      Peter.Mansfield@usdoj.gov




                                               14
